                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

UNITED STATES OF AMERICA                            )
                                                    )      Case Nos. 4:10-cr-17-13-HSM-WBC
vs.                                                 )
                                                    )
AUTUMN SWEETEN                                      )

                                MEMORANDUM AND ORDER

       AUTUMN SWEETEN (“Supervised Releasee”) appeared for a hearing before the
undersigned on August 29, 2014, in accordance with Rule 32.1 of the Federal Rules of Criminal
Procedure on the Petition for a Warrant or Summons for an Offender Under Supervision (“Petition”).
Those present for the hearing included:

              (1)     An Assistant United States Attorney for the Government;
              (2)     Supervised Releasee; and
              (3)     An Attorney with Federal Defender Services of Eastern
                      Tennessee (“FDS”) for the Supervised Releasee.

        After being sworn in due form of law, Supervised Releasee was informed or reminded of his
privilege against self-incrimination accorded him under the Fifth Amendment to the United States
Constitution. It was determined that Supervised Releasee wished to be represented by an attorney
and he qualified for appointed counsel. FDS was appointed to represent Supervised Releasee. It was
also determined that Supervised Releasee had been provided with and reviewed with counsel a copy
of the Petition.

        The Government moved that Supervised Releasee be detained without bail pending his
revocation hearing before U.S. District Judge Harry S. Mattice, Jr. Supervised Releasee waived his
right to a preliminary hearing and a detention hearing.

                                            Findings

       Based upon the Petition and waiver of preliminary hearing, the Court finds there is
       probable cause to believe Supervised Releasee has committed violations of his
       condition of supervised release as alleged in the Petition.

                                          Conclusions

       It is ORDERED:

       (1) Supervised Releasee shall appear for a revocation hearing before U.S. District
       Judge Mattice.




Case 4:10-cr-00017-TRM-CHS          Document 576        Filed 09/02/14     Page 1 of 2       PageID
                                          #: 1674
      (2) The Government’s motion that supervised releasee be DETAINED WITHOUT
      BAIL pending his revocation hearing before Judge Mattice is GRANTED.

      (3) The U.S. Marshal shall transport Supervised Releasee to a revocation hearing
      before Judge Mattice on September 22, 2014 at 9:00 a.m. [EASTERN].

      ENTER.


                                         s/fâátÇ ^A _xx
                                         SUSAN K. LEE
                                         UNITED STATES MAGISTRATE JUDGE




Case 4:10-cr-00017-TRM-CHS        Document 576       Filed 09/02/14    Page 2 of 2       PageID
                                        #: 1675
